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                                                                                       60CV-13-2103


            IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                   DIVISION


ADVANCED INSURANCE .
BROKERAGE OF AMERICA, INC. and
J.MATILILE                                                                          PLAINTIFF

vs.                                 CASE NO. _ __

MUTUAL MARINE OFFICE, INC. and
GOTHAM INSURANCE COMPANY                                                        DEFENDANTS

                                          COMPLAINT

       COME NOW, Advanced Insurance Brokerage of America, Inc. and J. Matt Lile, by and

through their attorneys, Newland & Associates, PLLC, and for their Complaint against Mutual

Marine Office, Inc. and Gotham Insurance Company, state and allege as follows:

                      I.      PARTIES, JURISDICTION, AND VENUE

       1.      Mr. Lite is a resident of Pulaski County, Arkansas.

       2.      Advanced Insurance Brokerage of America, Inc. ("AIBA'') is an Arkansas

corporation, with its registered agent in Pulaski County, Arkansas.

       3.      Mutual Marine Office, Inc. (''MMO'') is a New York corporation, and has

contractually consented to jurisdiction in the courts of the State of Arkansas. Service of process

may be made upon the Senior Claims Officer of Mutual Marine Office, Inc., 919 Third Ave. lOth

Floor, New York, NY 10022, or his designee.

       4.      Gotham Insurance Company ("Gotham'') is an insurance company organized

under the laws of New Jersey, and whose registered agent for service of process is F. Papalia at

4122 Mt. Kemble Avenue, Suite 300 C, Morristown, NJ, 07960. Gotham has contractually

consented to jurisdiction in the courts of the State of Arkansas.

       5.      Jurisdiction is proper in this Court pursuant to Ark. Code Ann.§ 16-13-201.


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       6.     Venue is proper in this Court pursuant to Ark. Code Ann. § 16-55-213.

                                          II.      FACTS

       7.      Plaintiff is the former Chief Executive Officer of AIBA.

       8.      AffiA was formerly in the business of acting as a third-party administrator for

single employer, self-funded group medical plans.
                                                                                                         ·'
                                                                                                         .,
       9.      Gotham issued a policy of Miscellaneous Errors and Omissions insurance to

AIBA on or about March 17, 2009 ("the Policy'1. A true and correct copy of the Policy is

attached hereto as Exhibit "A," and incorporated herein by reference.

       10.     The term of the Policy was February 28, 2009, to February 28, 2010.

       11.     Pursuant to the Policy, Gotham agreed to pay, on behalf of AffiA and covered

persons, any damages and claims expenses arising out of a negligent act, error, or omission even

if such act is groundless, false or fraudulent, if the negligent act, error, or omission took place in

the rendering or failure to render Professional Services. See Exhibit A, Part I, Paragraph A.

        12.    ''Professional Services" are defined as "third party administrator of employee

benefits, placement, [and] administration of stop loss."

        13.    Pursuant to the Policy, Gotham also agreed that it had the duty to defend any

claims made against the covered persons and to pay for the cost of defense of any lawsuits made

against the covered persons. See Exhibit A, Part I, Paragraph B.

        14.     Any "present or former principal, partner, officer, director, or employee of AlBA

 or its Subsidiaries" are considered covered persons under the Policy. See Exhibit A, Part I,

 Paragraph E (2). See Exhibit A, Declarations, Paragraph V.

        15.     MMO is the Authorized Representative and Managing General Agent of Gotham

 and executed the Policy.


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       16.     Any claims under the Policy were to be reported to MMO.

       17.     MMO was the entity that made determinations regarding whether to approve or

deny coverage under the Policy.
                                                                                                     '·
       18.     On or about March 19, ·2010, Beard Engineering, Inc. (''Beard''} filed a lawsuit in

the Circuit Court of Saline County, Arkansas, against AffiA and Mr. Lile, arising out of certain

Professional Services that AlBA provided to Beard Engineering, Inc. as third-party administrator

for Beard's single employer self-insured group medical plan ("the Beard Lawsuit'').

      · 19.    The Beard Lawsuit involves allegations that AlBA and Mr. Lile made certain

errors and omissions as third-party administrator.

       20.     Beard served AlBA with the lawsuit on or about April28, 2010.

       21.     Beard served Mr. Lite with the lawsuit on or about July 2, 2010.

       22.     AIDA and Mr. Lile provided notice of the Beard Lawsuit to Gotham and MMO,

and requested that Gotham defend the lawsuit as required by the Policy.

       23.     On or about May 20, 2010, Gotham and MMO denied coverage for the Beard

Lawsuit, and refused to defend or pay for the cost to defend the Beard Lawsuit as required by the

terms of the Policy.                                                                                      !
                                                                                                          l

                                                                                                          i
       24.     As a result of Gotham and MMO denying the claim, AIDA and Mr. Lite were
                                                                                                          I
required to assume and pay for their own defense of the Beard Lawsuit.                                    I
       25.     AlBA and Mr. Lile have incurred substantial expense defending the Beard                    I
Lawsuit, in excess of$14,000.

       26.     On or about June 3, 2010, JM Oilfield Service, Inc. ("JM Oilfield,) filed a lawsuit

in the Circuit Court of Pulaski County, Arkansas, against AlBA and Mr. Lile arising out of




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certain Professional Services that AIBA provided to JM Oilfield as third-party administrator for

its single employer self-insured group medical plan ("the JM Oilfield Lawsuit'').

       27.      Thereafter, Mr. Lile and AIBA provided notice of the JM Oilfield Lawsuit to

MMO and Gotham, and requested that Gotham defend the lawsuit as required by the Policy.
                                                                                                     .j

       28.      On or about July 21, 2010, Gotham and MMO denied coverage for the JM
                                                                                                      i

Oilfield Lawsuit, and refused to defend or pay for the cost to defend the Beard Lawsuit as

required by the terms of the Policy.

       29.      As a result of Gotham and MMO denying the claim, AIBA and Mr. Lile were

required to assume and pay for their own defense of the JM Oilfield Lawsuit.

       30.      AIBA and Mr. Lile have incurred substantial expense defending the JM Oilfield

Lawsuit, in excess of$11,000.

       31.      On or about August 12, 2010, Indigo LR, LLC and Chris Eakin filed a lawsuit in

the Circuit Court of Pulaski County, Arkansas, against AIBA and Mr. Lile, which was later

removed to federal court (''the Indigo Lawsuit''). The allegations in the Indigo Lawsuit arise out

of Professional Services that AlBA provided to Indigo for its self-insured employee group

medical plan.
                                                                                                      i
                                                                                                      I
       32.      Mr. Lile and AIBA provided timely notice of the Indigo Lawsuit to MMO and

Gotham, and requested that Gotham defend the lawsuit as required by the Policy.

       33.      On or about November 10, 2010, Gotham and MMO denied coverage for the

Indigo Lawsuit, and refused to defend or pay for the cost to defend the Indigo Lawsuit as

required by the terms of the Policy.

       34.      AB a result of Gotham and MMO denying the claim, AIBA and Mr. Lile were

required to assume and pay for their own defense of the Indigo Lawsuit.



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          35.   Ultimately, the court dismissed the Indigo Lawsuit, and the Plaintiff filed an

appeal to the Eighth Circuit, which appeal is still pending.

          36.   AlBA and Mr. Lile have incurred substantial expense defending the Indigo

Lawsuit, in excess of$45,000.                                                                        I
                                                                                                    .I



          37.   On or about November 10, 2009, the Insurance Commissioner for the State of

Arkansas filed a lawsuit in the Circuit Court of Pulaski County, Arkansas against AlBA and Mr.

Lile arising out of certain Professional Services that AlBA provided as third-party administrator

for single employer self-insured group medical plans (''the Commissioner Lawsuit,).

          38.   AIDA and Mr. Lile timely notified MMO and Gotham of the Commissioner

Lawsuit, and requested that Gotham defend the lawsuit as required by the Policy.

          39.   MMO and Gotham denied coverage for the Commissioner Lawsuit, and refused

to defend or pay for the cost to defend the Commissioner Lawsuit as required by the terms of the

Policy.

          40.   AlBA and Mr. Lile have incurred substantial expense defending the

Commissioner Lawsuit, in excess of $100,000.

          41.   The Insurance Commissioner for the State of Arkansas later voluntarily dismissed

the Commissioner Lawsuit.

          42.   On or about May 29,2012, the Insurance Commissioner for the State of Arkansas

re-filed its lawsuit against AlBA and Mr. Lile in the Circuit Court of Pulaski County, Arkansas,

alleging that AlBA and Mr. Lile negligently administered several single employer health benefit

plans (''the Second Commissioner Lawsuit").

          43.   Mr. Lile and AlBA provided timely notice of the Second Commissioner Lawsuit

to MMO and Gotham, and requested that Gotham defend the lawsuit as required by the Policy.



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         44.   On or about July 22, 2012, Gotham and MMO denied coverage for the Second

Commissioner Lawsuit, and refused to defend or pay for the cost to defend the Second

Commissioner Lawsuit as required by the terms of the Policy.

         45.   As a result of Gotham and MMO denying the claim, AlBA and Mr. Lite were

required to assume and pay for their own defense of the Second Commissioner Lawsuit.

         46.   AIBA and Mr. Lile have incurred substantial expense defending the Second

Commissioner Lawsuit.

  ill.     FIRST CAUSE OF ACTION-BAD FAITH AGAINST GOTHAM AND MMO

         47.   AIBA and Mr. Lile incorporate by reference all allegations contained in

Paragraphs 1 through 46 as if set forth word for word.

         48.   No valid controversy exists regarding Gotham's duty to defend and cover the

aforementioned claims under the Policy.

         49.   The Policy requires Gotham to defend and cover claims arising :from AlBA's and     '


Mr. Lile's rendering of professional services.
                                                                                                  I
         50.   Each of the aforementioned lawsuits, the Beard Lawsuit, the JM Oilfield Lawsuit,   f
                                                                                                  I
the Indigo Lawsuit, and the Commissioner Lawsuit, make allegations that AlBA and Mr. Lile

made errors and omissions in the rendering of professional services.

         51.   MMO and Gotham had no valid reason to deny the claims.

         52.   MMO and Gotham knew they had no valid reason to deny the claims.

         53.   MMO and Gotham wrongfully denied the aforementioned claims in order to

avoid their obligations under the Policy.

         54.   MM:O and Gotham's conduct was dishonest, oppressive, and malicious, which

may be inferred :from the circumstances.



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       55.       MMO and Gotham acted willfully and wantonly in denying the claims.

       56.       AlBA and Mr. Lite have been damaged as a result of Gotham's and MMO's

conduct because AlBA and Mr. Lite have incurred substantial expense defending each of the

aforementioned lawsuits.

       57.       Am A and Mr. Lile are entitled to compensatory damages and punitive damages

against MMO and Gotham for their tortious conduct in denying the claims.                                !I
                                                                                                        I

              IV.       SECOND CAUSE OF ACTION-BREACH OF CONTRACT                                      :i
                                                                                                        iI
                                                                                                        l
       58.       AlBA and Mr. Lile incorporate by reference all allegations contained in

Paragraphs 1 through 57 as if set forth word for word.

        59.      Gotham had a contractual obligation to defend AlBA and Mr. Lite in the Beard

Lawsuit, the JM Oilfield Lawsuit, the Indigo Lawsuit, and the Commissioner Lawsuit, regardless

of whether AlBA's and/or Mr. Lile's alleged error or omission is alleged to be groundless, false,

or fraudulent.

       60.       Gotham failed to perform its contractual obligation because it refused to defend

AmA and Mr. Lite in the lawsuits.

       61.          Gotham's failure to perform their contractual obligation constitutes a breach of

the Policy.

        62.      AmA and Mr. Lile have been damaged because they were required to assume and

pay for their own costs of defense in each of the aforementioned lawsuits.

       63.       AlBA and Mr. Lite are entitled to damages for breach of contract.

        64.      Pursuant to Ark. Code Ann. § 23-79-208, AIDA and Mr. Lite are entitled to

damages from Gotham in the amount of the loss they have or will suffer (i.e., the amount of the

cost of defense as well as any judgment rendered against AlBA and Mr. Lile in the



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 aforementioned lawsuits), as well as 12% upon the amount of the loss, together with all

. reasonable attorneys' fees for the prosecution and collection of the loss.

                               V.      DEMAND FOR JURY TRIAL

         65.      AlBA and Mr. Lile pray for a trial by jury on all issues.

                               VI.     RESERVATION OF RIGHTS

         66.     AlBA and Mr. Lile specifically reserve the right to bring any additional causes of

 action against the Defendants, or additional defendants, and to amend this Complaint as
 necessary.

         WHEREFORE, AlBA and Mr. Lile pray that this Court grant the relief requested herein,

 for punitive damages in an amount to deter this type of conduct in the future, for their costs and

 attorneys' fees incurred herein, and for all other just and proper relief to which they may be

 entitled.

                                        Respectfully Submitted,

                                        Newland & Associates, PLLC
                                        2228 Cottondale Lane, Suite 200
                                        Little Rock, AR 72202                                         I
                                        (501) 221-9393                                                !
                                        {501) 221-7058 (fax)

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                                                                                                      i
                                                                                                      I

                                        Joel F. Hoover, Ark. Bar No. 2001031                          !
                                        Ashlea Brown, Ark. Bar No. 2007197




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   ., r      "                                 .    (   )                                                 ()
                                                              MUTUAL MARINE OFFICE, INC.
                                                               919 Third Avenue, 10th floor
                                                                    NewYork, NY 10022
                                                                   Phone: 212-551-0600
                                                                    Fax: 212·986-1310


                   In consideration of the payment of premium, in reliance upon the statements in the
                   Declarations and the Application, and subject to all of the terms of this Policy, the
                   Company agrees with the Named Insured as follows:

                                                            Miscellaneous Errors and Omissions
                                                                    CLAIMS MADE FORM
                  COMPANY:                         Gotham Insurance Company
                  POLICY NUMBER:                   IA10018209

                                                                        DECLARATIONS
                  I.          NAMED INSURED:                        Advanced Insurance Brokerage of America, Inc.
                  II.         NAMED INSURED                         1525 Merrill Drive, Suite 2000
                              ADDRESS:                              Little Rock, AR 72211
                  Ill.        POLICY PERIOD:                        02/28/2009 to 02/28/2010

                                                                    Beginning and ending at 12:01 A.M. Local Standard Time
                                                                    at the address of the Named Insured.
                 IV.         .RETROACTIVE DATE:                     10/27/2004
                 V.           PROFESSIONAL                          Third Party Administrator of employee benefits,
                              SERVICES:                             placement, administration of stoploss
                 VI.          LIMIT OF LIABILITY
                              A. LIMIT EACH CLAIM, INCLUDING CLAIMS, EXPENSES:                                 $2,000,000
                              B. LIMIT IN THE AGGREGATE FOR ALL CLAIMS
                                 INCL CLAIMS EXPENSE:                                                          $2,000,000
                 VII          DEDUCTIBLE OR SELF-INSURED RETENTION~                                            $25,000
                               (Applicable to each Claim, incl. Claims Expenses)
                 VJJJ        PREMIUM AND REPORTING:
                             A.   DEPOSIT PREMII,.lM:                                                          $25,000.00
                             B.   MINIMUM PREMIUM:
                                                                                                               $25,000.00
                                  PREMIUM ADJUSTMENT AND REPORTING,
                                  The premium Charged for this policy has been
                                  calculated as follows:                                                       FLAT

                               NOTE: 25% of MINIMUM DEPOSIT PREMIUM IS EARNED AT INCEPTION


                         ?oficy Number lA10018209                    Mutual Marine Offloe, Inc.
                                                                 Pacific Mutual Marine Office, Inc.
                                                              Mutual Marine office of the M"ldwes~ Inc.

                                                                       BrokerPR08M
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                                               Under~riters         Inc.                                     8667677590   P.002
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         On or before the 30th day following the expiration of this Poficy, the insured agrees to submit to Mutual
         Marine Office, Inc. a report of Gross Revenues during the Polley Period.
         1. Earned Premium will be calculated at the above rate, and any premium In excess of the Deposit                         .
         Premium shall be immediately due and payable upon furnishing the aforesaid report.                                       l!
                                                                                                                                  \\
         2. In the event that the Earned Premium is less than the Deposit Premium but more than the Minimum                       'I
         Premium, the Company will return the difference between the Deposit Premium and the Earned Premium.                          i
        . 3. In the event that the Eamed Premium is less than the Minimum Premium, the Minimum Premium will                           il
          apply and the Company will return the difference Of any) between the Deposit Premium and the Minimum
          Premium.
         AUDIT: Th91nsured shall keep an accurate record of Gross Revenues during the Policy Period. Mutual
         Marine Office, Inc. through its authorized representative shall be prlvDeged to inspect the books and
         records of the insured pertaining to th& subject matter of this insurance at all reasonable times during the
         Dfe or this Policy and for twenty four (24) months after the expiration or termination date of this Insurance.
         Any evasion by the insured In connection With statements shall void such policy and shaD be an absolute
         defense to any suit or action brought under such policy.

         CANCELLATION: In the event of cancellation, the Insured agrees to furnish the company with an accurate
         statement of Gross Revenues for the period from the attachment date of this Polley up to and Including the
         date of cancellation, such statement to be the basis for premium adjustment as provided herein. Revised
         Minimum and Deposit Premiums Will be calculated as set forth below, and the Eamed Premium for the
         amended Polley Period WiD be applied egalnst these revised Minimum and Deposit Premiums in
         accordance with DeclaratiOn Vli(C).

          1.ln the event of cancellation by the Company:

          a) The Revised· Deposit Premium will be calculated by subtracting the pro rata return premium due from
          the Deposit Premium set forth in Declaration VII(A).

          b) The revised Minimum Premium Will be determined by multiplying the Minimum Premium set forth fn
          Declaration VII( B) times the fraction created by dividing the Revised Deposit Premium by the Deposit
          Premium set forth In Declaration VII(A).

          2. In the event of cancellation by the Named Insured:

          a} The revised Deposit Premium will be calculated by subtractina the "short-rate return premium• due from
          the Dep0$lt Premium.

          b) Unless modified by specific endorsement, the revised Minimum Premium wiU be the same as the revised
          Deposit Premium.


          3. Except where specifically amended by statute to the contrary, cancellation by a Premium Finance
          C001pany shall be deemed to be canceUation by the Named Insured.
            DEFINJTIONS: Wl'lenever used In these Declarations, the following definitions shall apply:
          1. 'Sh-ort-rate return premium• shall be defined to mean the amount obtained by multiplying the pro rata
          return premium times 90%.

          2. "Gross Revenues• means the gross amount of money charged and received by the Named Insured for
          Professional Services during the Policy Period, and includes taxes. other than taxes which the Named
          Insured collect& as a separate item and remits directly to a governmental division.

          3. "Premium Finance Company• means any company which agrees to pay your premium in whole or in part
          and which has the legal authority to cancel this PoDcy.




          Polley Number                                Mutual Marine Office, Inc.,                       Page 2of2
                                                   Pacific Mutual Marine Office, Inc.
                                                Mutual Marine Office or the Midwest, Inc.
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                                   PROFESSIONAL LIABILITY
\                           COVERAGE FORM CLAIMS-MADE COVERAGE
'
             Throughout this document, the word "Insured" means any person or entity qualified as such under Part
             I. E. "Covered Persons and Entitles.•

             Other words and phrases that appear In bold have special meaning. Refer to Part Ill. Definitions.

             PART I.               Insuring Agreements

                    A.     Covered Services·

                           The Company will pay, on behalf of the Insured. Damages and associated Claim
                           Expenses arising out of a negligent act, error, or omission resulting in Claim for
                           financial loss, property damage, Advertising liability, or Personal Injury, even If
                           such Claim is groundless. false or fraudulent, provided that:

                            1.     The negligent act, error, or omission took place In the rendering of or failure to
                                   render Professional Services: and,


                                                                               t
                            2.     The negligent act, error, or omission took place in the Covered Territory; and,
                            3.     The negligent act, error, or omission took place after the Retroactive Date shown
                                   In the Declarations; and,
                            4.     The Claim Is first made against the Insure ·and reported to the Company during
                                   the Polley Period.

                    B.      Defense and Settlement

                            The Company has the right and duty to defend, subject to the provisions in 1hls Policy
                            and the Umits of Liability, any Claim to which coverage under this Policy applies.

                            The Company has the right to select defense counsel; provided however, if applicable law
                            allows the Insured to control the selection of counsel because a potential conflict of
                            interest between the Insured and the Company, the Company will provide a list of
                            attorneys or law firms from which the Insured may designate counsel, and the Insured
                            agrees to direct such defense counsel to cooperate with the Company.

                            The reasonable fees and costs incurred by counsel, Including those fees and costs
                            generated by cooperation with the Company, as set forth above, shall be Included In
                            Claim Expenses.

                            The Company Will not settle any Claim without the consent of the Named Insured. If,
                            however, the Named Insured shall refuse to consent to any $ettlement recommended by
                            the Company and shall elect to contest the Claim or continue any proceedings In
                            connection with such Claim, then the Company shall not be obligated to pay Claim
                            Expenses incurred subsequent to such refusal. \Nlthholding of consent or refusal shall be
                            deemed a refusal. Furthermore, the Company's liability for such Claim shall not exceed
                            the amount for which the Claim could have been so settled and Clafm Expenses Incurred
                            up to the date of such refusal. Such amounts are subject to the Limits of Liability, of thrs
                            Polley.



             MMO PROF LIAB 1/09                                                                                 p.l of12
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             C.     Polley Limits

                    Regardless of the number of persons or entities Insured or included in Part I. D.
                    Covered Persons or Entitles, or the number of claimants or Claims made against the
                    Insured:

                    1.      The maximum liability of the Company for Damages and Claim Expenses
                            resulting from each Claim made against the Insured. during the Polley Period and
                            the Extended Reporting Period, if purchased, shall not exceed the amount shown
                            In the Declarations for each Claim;
                    2.      The maximum liability of the Company for all Damages and Claim Expenses as
                            a result of all Claims first made against the Insured during the Policy Period and
                            the Extended Reporting Period, if purchased, shall not exceed the amount
                            shown in the Declarations in the aggregate.

                    The Company shall not be obligated to pay any Claim for Damages or defend any
                    Claim after the applicable Limit of Liability has been exhausted by payment of
                    judgments, settlements, Claim Expenses or any combination thereof.

                    Claim Expenses are a part of and not In addition to the applicable Limits of Liability.
                    Payment of Claim Expenses by the Company reduces the applicable Limits of Liability.

                    The inclusion of more than one Insured, or the making of Claims by more than one
                    person or organization, does not increase the Company's Limit of Liability. In the event
                    two or more Claims arise out of a single negligent act, error or omission, or a series of
                    related negligent acts, errors or omissions, all such Claims shall be treated as a single
                    Claim. VVhenever made, all such Claims shall be considered first made and reported 1o
                    the Company during the Policy Period In which the earliest Claim arising out of such
                    negligent act, error or omission was first made and reported to the Company, and all
                    such Claims shall be subject to the same Limit of Liability.

                     Umits of Liability apply above the retention amount stated in the Declarations.

              0.     Retention Provisions

                     The retention amount stated In the Declarations shall be paid by the Insured. The
                     retention amount applies to each Claim, and rt includes Damages, and/or Claim
                     Expenses, whether or not a loss payment Is made. If the Company Initially pays the
                     retention amount, the Named Insured shall reimburse the amount paid within thirty (30)
                     days. Failure of the Insured to remit amounts due In connection with settlements,
                     judgments and loss adjustment expenses under this Policy, or any Policy of which this
                     Policy Is a renewal, shall be deemed to be equivalent to non-payment of premium, and
                     may be used as a reason for cancellation. The Insured agrees to pay fees and
                     expenses incurred in efforts to recover from the Insured any unreimbursed amounts.

              E.     Covered Persons and Entitles

                     1.     Named Insured as stated in the Declarations and its Subsidiaries:

                     2.     Any present or former principal, partner, officer, director, or employee of the


       MMO PROF LIAB 1/09                                                                              p.2 of12
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                                       Named Insured or its Subsidiaries, but only as respects Professional Services
                                       rendered on behalf of the Named Insured;
li                            3.       Heirs, executors, administrators. and In the event of an Insured's death,
'                                      incapacity or bankruptcy, legal representatives of any Insured, but only with
•·                                     respect to Professional Services rendered prior to such Insured's death,
                                       incapacity or bankruptcy.                       ·

                              4.        Independent contractors of the Named Insured, but only as respects
                                        Professional s~rvlces rendered on behalf ofthe Named Insured.

                              For the purposes of this section, "subsidiaries" is defined as: for~proflt entities of which
                              the Named insured has Management Control.

                               If during the Policy Period, the Named Insured acquires or creates a for-profit entity of
                               which ihe N_amed Insured has Management Control, such entity shall be considered an
                               Insured under this Polley from the date of the acquisition or creation, but only for acts,
                               errors, or omissions committed after the date ·of acquisition or creation.

                               If the assets or revenues of the new for-profit entity is greater than 10% of the assets or
                               revenues, respectively, of the Named Insured prior to the acquisition or creation of the
                               new for·profit entlty, coverage beyond 90 days of the date of said acquisition or creation
                               will only apply if the following is completed within the 90-day period: a} Written notice of
                               such acquisition or creation is provided to the Company; b) the Named Insured provides
                               the Company with information that it may require; c) the Insured. accepts any speclal
                               terms, conditions, exclusions, or additional premium charges as may be required by the
                               Company; and d) the Insurers, at their sole discretion, agree to provide such coverage.

                        F.     Covered Territory

                               This Policy applies to covered Claims arising out of negligent acts, errors, or omissions,
                               Advertising Liability or Personal Injury committed by, and Claims made against the
                               Insured anywhere in the world, provided that such Claims are first made within the
                               United States of America, its territories or possessions, Puerto Rico or Canada.

                        G.     Extended Reporting Period

                        1. If the Policy is not renewed for any reason, or Is canceled for any reason other than for
                           non-payment of premium (whether cancelled by the Company or by the Insured), the
                           following Extended Reporting Period options may apply, but only for Claims resulting
                           from negligent acts, errors or omissions committed before the termination date of the
                           Policy and otherwise covered by this Policy. An Extended Reporting Period extends
                           the time for reporting a Claim under the Policy past the expiration date of the Policy, but
                           does not otherwise alter or increase coverage.

                                     a. Automatic Extended Reporting Period: If the Named Insured has not
                                        obtained another insurance policy covering Professional Services after the
                                        expiration date of this Policy, the Company shall provide to the Named
                                        Insured an automatic, non-cancelable Extended Reporting Period starting at
                                        the termination of the Policy Period, but only for ~lalms resulting from
                                        f)egllgent acts, errors or omissions committed before the termination date of        .
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                                     the Policy which are otheJWise covered .by this Policy. This automatic
                                     Extended Reporting Period will terminate at the earlier of the following dates:
                                     (a) after sixty (60) days or (b) at 12:01 A.M. on the date that another
                                     insurance policy covering the Professional Services of the Named Insured
                                     takes effect.

                                  b. Optional Extended Reporting Period: Alternatively, the Insured has the
                                     right to purchase an Extended Reporting Period for a period of twelve (12)
                                     months after the Polley terminates, but only for Claims resulting from
                                     negligent acts, errors or omissions committed before the termination date of
                                     th~ Polley which are otherwise covered by this Policy.

                                     The premium for this Extended Reporting Period shall be 100% of the full
                                     annual premium set forth in the Declarations and attached endorsements.
                                     The Named Insured must elect such coverage and pay the additional
                                     premium to the Company within siXty (60) days after the effective date of the
                                     Policy's termination. Such additional premium is deemed fully earned
                                     immediately upon the Inception of the Extended Reporting Period.

                                     The Optional Extended Reporting Period will be added by endorsement, and
                                     once endorsed, cannot be cancelled.

                   2. An Extended Reporting· Period does not reinstate or increase the Limits of Liability. The
                      Company's Limits of Liability during the Extended Reporting Period are Included within,
                      an<l not in addition to the Limits of Liability set forth in the Declarations.

           PART II.        Exclusions

                           This Policy does not apply to any Claim or Claim Expenses:

                   A.      Based upon or arising out of any Intentional, willful, criminal, fraudulent, malicious, or
                           dishonest act or omission by an insured; except where the Claim also includes
                           allegations of a negligent act, error or omission in the performance of your Professional
                           Services: however, this Polley will not pay any Damages or further cralm Expenses in
                           the event of an adjudication or admission by an insured that the act or omission was
                           intentional, willful, criminal, fraudulent, malicious, or dishonest

                   e.      Based upon or arising out of infringement of copyright, patent, trademark, trade name,
                           service mark, trade dress, title or slogan. However, this exclusion does not apply to
                           infringement of copyright, trademark, trade name, service mark, trade dress, title or
                           slogan, arising from Advertising Liability.

                   c.      Based upon or arising out of any business entity not named in the Declarations or an
                           Endorsement to this Policy for which the Insured does not have Management Control.

                   D.      Based upon or arising out of a Claim by one Insured under this Policy against another
                           Insured under this Policy.

                    E.     Based upon or arising out of llabinty of any type assumed by an Insured under a contract
                           or agreement, including breach of an express or implied warranty or guarantee. This
                           exclusion does not apply to liability that an Insured would have in the absence of the


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                 contract or agreement.

         F.      Based upon or arising out of false advertising or misrepresentation In advertising, or
                 unfair competition based thereon, but only with respect to Intentionally false, misleading,
                 deceptive, fraudulent or misrepresenting statements in advertising the Insured's own
                 product or service.

         G.      Brought by any regulatory authority or administrative actions by a federal, state or local
                 governmental entity, including but not limited to: any actions, decisions, orders or
                 proceedings by any federal, state or local governmental agency.

         H.      Based upon or arising out of the failure to find, Identify, report, remediate, prescribe a
                 solution to, or otherwise based upon or arising out of any of the following:
                 (1.) mold, fungi, bacteria, viruses, mildew, mycotoxins, spores, biogenic aerosol, or any
                       byproducts thereof;
                  (2.) silica, asbestos, asbestos compounds or materials containing asbestos;
                 (3.)1ead, lead-based, or lead-containing substances; or
                  (4.} radon.

         1.      Based upon or arising out of bodily Injury to any person, resulting from any cause. This
                 includes bodily Injury directly or indirectly arising out of supervision, training, hiring,
                 disciplining, or termination of one or more employees or failure to train, supervise,
                 discipline, or terminate one or more employees.

         J.      Based upon or arising out of Property Damage arising out of Products.

         K.      Based upon or arising out of advice regarding or failure to advise, provide, require, obtain
                 or maintain any form of insurance, suretyship, or bond.

         L..      Based upon or arising out of estimates or opinions of real estate value.

         M.      Based upon or arising out of geological surveys, soil compaction surveys, surveys of
                 subsurface condition, or ground testing, or earth movement such as earthquake,
                 iandslide, or earth sinking, rising or shifting for any reason.

         N.       Based upon or arising out of the actual, alleged, or threatened existence or Release of
                  Pollutants at any time. This Includes the failure to detect, report, test for, monitor, clean
                  up, remove, contain, treat, detoxify, neutralize or any way respond to, or assess the
                  existence, non-existence or effects of Pollutants, or any request demand, or order for
                  any of the above, or Claims by or on behalf of a governmental authority or others, for
                  Damages because of testing for, Identifying, detecting, monitoring, cleaning up,
                  removing, containing, treating, detoxifying, neutralizing, communicating information
                  about, In any way responding to, or assessing the existence, non-existence or effects of
                  Pollutants, including the failure to perform any of these activities. This also includes the
                  Inhalation of, Ingestion of, or exposure to PoJJutants.

         0.       Based upon or arising out of synthetic stucco and external insulation and finish systems
                  (EIFS), or any part thereof, or any substantially similar system or any part thereof,
                  including the failure of and the improper installation of the foregoing, and the application
                  or use of conditioners, primers, accessories, flashings, coaUngs, caulking or sealants In
                  connection with such a system.                                                       ·


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               P.         Based upon or arising out of underground storage tanks ..

               Q,         Based upon or arising out of the return, restitution, disgorgement, forfeiture or rescission
                          of any personal profrt, remuneration or financial advantage, or monies to which an
                          Insured was not entitled.

                R.        Based upon or arising out of any Claim covered by a Comprehensive General Liability
                          policy, Commercial General Liability, Package Policy, Manuscript Policy or policy forms
                          of a similar nature, which was in effect for the Insured at the Inception Date ofthls Policy.

                s.        Based upon or arising out of or alleging or resulting, directly or Indirectly, from:

                          1).     facts alleged, or the same acts or series of continuous, repeated, or related acts
                                  alleged or contained In any Claim which has been reported, or in any
                                  circumstances of which notice has been given, under any policy which this Policy
                                  Is a renewal of or replacement of or succeeds ln time;

                          2)      any act, circumstance, or event committed, omitted, or occurring prior to the
                                  Polley Period if, on or before the First Inception Date, the Named Insured knew
                                  or could have reasonably foreseen that such act, circumstance, or event could
                                  give rise to a Claim against a Named Insured; or,

                     .     3)     as of the First Inception Date, any pending or prior: (i) Claim, demand, suit,
                                  arbitration, mediation, or litigation, or 01) administrative, bankruptcy, regulatory
                                  proceeding, or investigation, of which an Insured had notice, or alleging or
                                  derived from 'the same or essentially the same facts as alleged in such pending
                                  or prior Claim, demand, suit, arbitration, mediation, litigation, or administrative
                                  bankruptcy, or regulatory proceeding or investigation.


         PART Jll.         Definitions

                A.         Advertising Liability means Injury arising olrt of one or more of the following offenses,
                           in relationship to the Insured's own promotional activities:

                           1.      Oral or written publication of material that slanders or libels a person or
                                   organization or disparages a person's or organiza1ion's goods, products or
                                   services;
                           2.      Oral or written publication of material that violates a person's right of privacy or
                                   publlc~y;
                           3.      Infringement, during the course of promotional activities, of copyright, trademark,
                                   trade name, service mark, trade dress. title or slogan.

                B.          Bodily Injury means physical or mental harm, mental anguish, emotional distress,
                            humiliation, sickness or disease sustained by a person, including death resulting from
                            any of these at any time. This includes all effects of sexual acts, including rape, sexual
                            molestation, non-consensual sex, or sexual assault

                C.          Clalm means a written demand for money or services received by the Insured, including
                            service of suit and Including declaratory judgment actions or the demand for arbitration


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                       proceedings against the Insured.

                D.     Claim Expenses means expenses incurred by the Company or the Insured with the
                       Company's consent, in the investigation, adjustment, negotiation, arbitration, mediation
                       and defense of covered Claims, whether paid by the Company or the Insured with the
                       Company's consent, and include:

                       1.      Attorney fees;

                       2.      Costs assessed against the Insured in any Claim defended by the Company;

                      · 3.     Interest on the full amount of any judgment that accrues after entry of the
                               judgment and before the Company has paid, offered to pay or deposited in court,
                                that part of the judgment within the applicable Limit of Liability;

                       4.      The oost of appeal bonds or bonds to release attachments, but only for bond
                               amounts within the available applicable Policy limit, and only If said Claim is
                               covered by the Polley;

                        5.     Reasonable expenses incurred by the Insured at the Company request other
                               than:
                               a.      Loss of earnings;

                               b.      Salaries or other compensation paid to the Insured or any employee of
                                       the Insured.

                E.      Damages means monetary judgment, award or settlement, except those for which
                        Insurance Is prohibited by law. Damages does not include punitive or exemplary
                        Damages, fines, penalties, sanctions, taxes, awards or Damages that are multiples of
                        any covered fees, deposits, commissions or charges for goods or services. Damages
                        does not include any amounts that represent, or are substantially equivalent to, the
                        return, restitution, disgorgement, forfeiture or rescission of any personal profit,
                        remuneration or financial advantage, or monies to which an Insured was not entitled.

                 F.     First Inception Date means the inception date of the first errors and omissions,
                        professional, media or other JiabiJtty policy that {i) provides or provided the same or
                        essentially the same coverage as this Policy and (ii) was issued by Gotham Insurance
                        Company, New York General and Marine Insurance Company, or any member of the
                        NYMAG/C, Inc., group of companies, to the Named Insured and continually renewed
                        through to the Policy Period ofthis policy.

                 G.     Management Control means either having the right or power to select a majority of the
                        board of directors of a corporation, the management committee members of a joint
                        venture or partnership, or the members of a management board of a limited liability
                        company, due to either: a) owning interests representing more than 50% of the voting,
                        appointment, or designation power for the entity, or b) having the right, pursuant to a
                        written contract, to elect, appoint, or designate these persons.

                 H.     Personal Injury means injury, other than Bodily Injury or Advertising Liability, arising
                        out of one or more of the following offenses:


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                                1.        False arrest, detention or imprisonment;
I                              2.         Malicious prosecution;
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                                3.        Wrongful eviction from, wrongful entry Into, or invasion of the right of private
                                          occupancy of a room, dwelling or premises that a person occupies, committed by
                                          or on behalf of its owner, landlord or lessor:

                               4.         Libel, slander, defamation of character, or violations of a person's right of privacy,
                                          unles~ arising out of promotional activities.



                       1.       Polley Period means the period oftime stated In the Declarations, or any shorter period
                                resulting from Policy cancellation or amendment to the Poncy.

                       J.       Pollutants means any solid, liquid, gaseous or thermal irritant, contaminant or toxfn,
                                including but not limited to, smoke, vapor, soot, fumes, acids, alkalis, chemicals, metals,
                                silica, asbestos, asbestos compounds or materials containing asbestos, waste or
                                any like substances. In addition to Pollutants to be disposed of, waste also includes
                                materials to be recycled, reconditioned, or. reclaimed. The term "pollutants" shall include
                                products which have Released from tanks, drums, pipelines, hoses or any other
                                conveyance or container and, as a consequence, pose a threat to health or the
                                environment

                       K.       Products means any tangible goods or products, other than real property,
                                manufactured, sold, handled, distributed, installed, or disposed of by an Insured or
                                anyone on behalf of the Insured. This includes containers (other than vehicles),
                                materials, parts, or equipment furnished in connection with such goods or products.

                       L.       Professional Services means those Items listed as Professional Services in the
                                Declarations.

                       M.       Property Damage means physical injury to or destruction of tangible property, including
                                all resulting loss of use of that property, or loss of use of tangible property that is not
                                physically injured. Electronic data is not considered tangible property.

                       N.       Release means discharge, dispersal, seepage, migration, release or escape of
                                    pollutants.

                       0.       Retroactive Date means the date stated in the Declarations on or after which any
                                alleged or actual negligent act, error or omission, Advertising Liability, or Personal
                                Injury must have taken place in order to be considered for coverage under this Policy.


                 PART IV.           Conditions

                        A.          Notice of Claim or Circumstances

                               i.      Claims:
                                          a. During the Polley Period or Extended Reporting Period, if applicable, the

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                                  Insured must immediately send copies to the Company of.any legal notices,
                                  summonses, complaints, or legal papers received in connection with any
                                  Claim, and must authorize the Company to obtain records and other
                                  information.

                               b. The Insured must send any Claims other than legal notices, summonses,
                                  complaints, or legal papers to the Company as soon as practicable, but in no
                                  event later than 60 days after receipt by the Insured, and must authorize the
                                  Company to obtain records and other information.

                 11.      Incidents or Notices of Circumstances: At any time during the Policy Period. or
                          Extended Reporting Period, If applicable, the Insured must notify the Company, ·as
                          soon as practicable, of an act, error, omission, incident, circumstance, occurrence or
                          offense that may reasonably be expected to result In a Claim.

                          The Insured shall include within any such notice (called a •notice of circumstances•),
                             the following information, with specificity, to the extent known by the Insured at
                             the time of such notice:

                          A. a description of the alleged act, error, omission, incident, circumstance,
                             occurrence or offense and;

                          B. the date(s) it was committed or happened, and;

                          C. a summary of the facts, and;

                          D. the alleged or potential Damages that may result from the act, error, omission,
                             incident, circumstance, occurrence or offense and;

                          E. the nanies of any claimants, and;

                          F. the names of any other lnsured(s) involved, and;

                          G. the names of any employees wh9 committed or allegedly committed the act
                             error, omission, and;

                          I.   the date and circumstances by which the lnsured(s) first became aware of such
                               loss.


                       3. A Claim shall be considered to be reported to the Company when notice Is first given to
                          the Company by or through the Named Insured in the Declarations.

                       4. An act, error, omission, Incident, circumstance, occurrence or offense that may
                          reasonably be expected to result in a Claim shall be considered to be-reported to the
                          Company when notice of circumstances Is first given to the Company by or through the
                          Named Insured In the Declarations, including the details ~numerated In the above
                          subparagraph 2. Should a Claim later result from the act, error, omission, Incident,
                          circumstance, occurrence or offense in the notice of circumstances, then that
                          resulting Claim shall be deemed to have been timely reported under this subsection
                          A. Notice of Claim or Circumstances.


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\                                   5. All Claims arising out of the same, continuing or related Professional Services shall be
                                       considered a single Claim and deemed to have been made at the time the first of the
                                       related Claims is reported to the Company and shall be subject to one Limit of Liability.


                            B.      Prohibition of Voluntary Payments and Settlements by Insured

                                    With respect to any Claim covered under this Policy, the Insured shall not, except at the
                                    Insured's own expense, make any payment, admit liability, settle Claims, assume any
                                    obligation, agree to arbitration or any other means of dispute resolution, waive any rights
                                    or incur any expenses without prior written approval by the Company.

                            c.      Cooperation Clause

                                    The Insured shall cooperate with the Company in the conduct of the investigation and
                                    defense of a Claim, and upon the Company's request. submit to examination and
                                    interrogation by the Company representatives, under oath If requlred, and attend
                                    hearings, depositions, and trials, and assist In affecting settlements, securing and giving
                                    evidence, and in obtaining the attendance of witnesses. The Insured agrees to promptly
                                    tender the defense of any Claim to any other insurer which also has available insurance
                                    for a Claim covered under this Polley.

                            D.      Notice of Cancellations and Non-renewal

                                    The Named Insured may cancel this Polley by mailing or delivering to the Company
                                    advance written notice of cancellation.

                                    For other than non-payment of premium, the Company will give the Named Insured sixty
                                    (60) days written notice prior to cancellation or non-renewal of this Policy by mailing or
                                    delivering the notice to the first Named Insured's last known mailing address. If the
                                    Company cancels the Policy due to the Named Insured's failure to pay a premium when
                                    due, this Policy may be canceled by the Company giving not less then 10 days written
                                    notice of cancellation.

                                    The cancellation notice will state the effective date of the cancellation, and the Policy will
                                    terminate on that date. If canceled by the Company, the earned premium shall be
                                    computed pro-rata. If canceled by the Insured, the earned premium shall be computed
                                    short rate.

                             e.      Authorization

                                     The first Named Insured listed In the Declarations agrees to act as the Named Insured
                                     with respect to the giving and receiving of all notices, exercising of the Extended
                                     Reporting Period option, canceling of the Policy, paying of all premiums and retentions,.
                                     and the receiving of any return premiums that may become due.

                             F.      Change

                                     This Policy contains all of the agreements concerning the Insurance provided. The first
                                     Named Insured shown in the Declarations is authorized to make changes in the terms of


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                         this Policy with the Company's consent. The Policy terms can be amended or waived
                         only by endorsement issued by the Company, and made a P!'lrt of this Policy.

                 G.      Subrogation

                         In the event of any Claim under this Policy, the Company shall be subrogated to all
                         Insured's rights of recovery against any person or organlzation, and the Insured shall
                         execute and deliver Instruments and papers, and do whatever else Is necessary to
                         secure such rights. The Insured shall do nothing after the loss to prejudice such rights.
                         The Insured shall not waive the companies right of recovery in advance of any claim.

                 H.      Other Insurance Clause, Excess Clause, and Pro Rata Clause

                         This Policy ·is excess over, and will not contribute with, any other existing insurance,
                         unless such other insurance is specifically written to be excess of this Polley.

                          If rt Is determined that both this insurance and other Insurance or self insurance apply to
                          any Claim on the same basis, whether primary, excess or contingent, the Company will
                          not be liable under this Policy for a greater proportion of the Damages or Clalm
                          Expenses than the applicable Limit of Liability under the Polley for such Damages bears
                          to the total applicable Limit of Liability of all other insurance or self Insurance, whether or
                          not collectible against such Claim.

                 I.       Actions against the tnsurer

                          No action will be taken against the Company unless, as a condition preceden~ the
                          Insured is in full compliance with all of the terms of this Policy, and until the amount of
                          the Insured's obligations to pay have been finally determined, either by judgment against
                          the Insured after actual trial, or by written agreement of the Insured, the claimant, and
                          the Company.

                  J.      Non-transferability

                           The Insured's rights and duties under this Policy may not be transferred without the
                         · written consent of the Company.

                  K.      Coverage in bankruptcy

                          Bankruptcy or insolvency of the Insured or of the Insured's estate does not relieve the
                          Company of its obligations under this Policy.

                  L.      Material Representations

                          Statements made on the application, attachments, or other material representations
                          made by the Insured, Insured's broker, and/or wholesale broker are accepted as true
                          and material in the decision to underwrite the services described in the Declarations as
                          PROFESSIONAL SERVICES. Any fact materially represented, If not true, may void this
                          coverage.




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                                                        Notice to New York State Policyholders:
                            During the first several years of the claims-made relationship, claims-made rates are
                            comparatively lower than occurrence rates, and the insured can expect substantial annual
                            premiummaturity.
                            reaches  increases, independent of overall rate level increases, until the claims-made relationship




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                  Named Insured: Advanced Insurance Brokerage of America, Inc.         Endorsement No. 1

                  Policy No: IA10018209
                                                                                       Effective Date: 02128/2009
                                            SCHEDULE OF FORMS ENDORSEMENT




                 MMO PROF LIAB 0112009 Professional Liability Coverage form Claims-Made
                                      Coverage

                 PLEND 320 Schedule of Forms Endorsement

                 PLEND 118 Nuclear Broad Form Exclusion

                 PLEND 150 Service of Suit

                 PLEND 347 Governmental Claims Buy Back

                 PLEND 152 Third Party Administrator

                 MANUSCRIPT #1 Additional Exclusion Endorsement
                 SIGNATURE             Signature Endorsement




                              AU other terms and conditions of this Policy remain unchanged.




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             GOTHAM INSURANCE COMPANY 2001


             Named Insured: Advanced Insurance Brokerage of America, Inc.                  Endorsement No. 2


             Policy No: IA10018209                                                         Effective Date: 02128/2009

             It is agreed that this endorsement Is attached to and hereby made a part of this Policy


                                                 NUCLEAR BROAD FORM sXCLUSION


             A.       This Policy does not apply:

                      1.      To Loss:

                              a.      with respect to which an Insured under this Polley is also an Insured under a
                                      nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                                      Association, Mutual Atomic Energy Liability Underwriters or Nuclear Insurance
                                      Association of Canada or any of their successors, or would be an Insured under
                                      any such policy but for its termination upon exhaustion of Its limit of liability; or

                              b.      resulting from the Hazardous Properties of Nuclear Material and with respect to
                                      which (i) any person or organization is required to maintain financial protection
                                      pursuant to the Atomic Energy Act of 1954, or any law amendatory thereof, or (il)
                                      the Insured is, or had this Poncy not been issued would be, entitled to Indemnity
                                      from the United States of America, or any agency thereof, under any agreement
                                      entered into by the United States of America, or any Agency thereof with any
                                      person <:>rganization; or

                      2.      To Loss resulting from the Hazardous Properties of Nuclear Material, if:

                              a.      the Nuclear Material (i) is at any Nuclear Facility owned by, or operated by or on
                                      behalf of an Insured (ii) has been discharged or dispersed therefrom;

                              b.      the Nuclear Material is contained in spent Fuel or Waste at any time possessed,
                                      handled, used, processed, stored, transported or disposed of by or on behalf of
                                      an Insured; or

                              c.         the Loss arises out of the furnishing by an Insured of seiVices, materials, parts or
                                         equipment In connection with the planning, constructlon, maintenance, operation
                                         or use of any Nuclear Facility, but If such Nuclear Facility is located within the
                                         United Sates of America, its territories or possessions or Canada, this •exclusion
                                         c· applies only to Loss to such Nuclear Facility and any property thereat.

              B.      As used in this Endorsement:

                      1.      "Hazardous Properties• include radioactive, toxic or explosive .properties.

                      2.      "Nuclear Material• means Source Material, Special Nuclear Material or Byproduct
                              Material.

                       3.     "Source Material" "Special Nuclear Material" and •syproduct Material" have the meanings
                              given them in the Atomic Energy Act of 1954 or In any law amendatory thereof.

                      4.      "Spent Fuel'' means any fuel element or fuel component solid or flquid, which has been
                              used or exposed to radiation in a Nuclear Reactor.


              PLEND liS                                       06-01·01
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                            5.    "Waste" means any waste material (a) containing Byproduct Material other than the
                                  failing or wastes produced by the extraction or concentration of uranium or thorium from
                                  any ore processed primarily for its Source Material content and (b) resulting from the
                                  operation by any person or organization of any Nuclear Facility included wnhin the
                                  9efinllion of Nuclear Facility under paragraph (a) or (b) t~ereof.
                               6.      "Nuclear Facility" means:

                                       a.      Any Nuclear Reactor;

                                       b.      Any equipment or device designed or used for (i) separating the isotopes of
                                               uranium or plutonium (ii) processing or utilizing Spent Fuel or (iii) handling,
                                               processing or packaging Waste;

                                       c.      My equipment or device used for the processing, fabricating or alloying of
                                               Special Nuclear Material If at a'ny time the total amount of such material in the
                                               <:ustody of the Insured at the premises where such equipment or device is
                                               located consists of or contains more than 25 grams of plutonium or uranium 233
                                               or any combination thereof, or more than 250 grams of uranium 235; or

                                       d.      Any structure, basin, excavating, premises or place prepared or used for the
                                               storage or disposal of Waste and includes the site on which any of the foregoing
                                               is located, all operation conducted on such site and all premises used for such
                                               operations.

                              7.      "Nuclear Reactor" means any apparatus designed or used to sustain nuclear fission in a
                                      self-supporting chain reaction or to contain a critical mass of fissionable material.

                              8.      "Insured.. means the Insured Organization and shall also mean the Insured Persons.

                              9.      "loss• includes all forms of radioactive contamination of property.

                      Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions,
                      exclusions or limitations of the above mentioned policy, except as expressly stated herein. This
                      endorsement is part of such policy and incorporated therein.

                      All other terms and conditions of this Policy remain unchanged.




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                      PLEND 118                                    06..01-01
                   Case 4:13-cv-00532-BSM Document 2 Filed 09/10/13 Page 26 of 31


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               Named Insured: Advanced Insurance Brokerage of America, Inc.              Endorsement No. 3


               Policy No: IA10018209                                                     Effective Date: 02/28/2009

               It is agreed that this endorsement is attached to and hereby made a part of this Policy

                                                       SERVICE OF SUIT
               In the event of our failure t~ pay any amount claimed to be due, we, at your request, yvlll submit to the
               jurisdiction of any court of competent jurisdiction within the United States of America or Canada and will
               comply with all requirements necessary to give such court jurisdiction and all matter arising hereunder
                shall be determined in accordance with the law and practice of such Court.

               Service of process in such suit ma~ be made upon the Senior Claims Offacer of MUTUAL MARINE
               OFFICE, INC., 919 THIRD AVE 10 H FLOOR, NEW YORK. NY 10022, or his designee. In any su~
               Instituted against any one of them upon this contract, we will abide by the final decision of such Court or
               of any Appellate Court in the event of an appeal.

               The above named is authorized and directed to accept service of process on our behalf in any such suit
               and/or upon your request to gfve a written undertaking to you that we will enter a general appearance
               upon our behalf in the event such a suit shall be Instituted.

               Further, pursuant to any statute of any state, territory or district of the United States of America or
               province of Canada, which makes provision therefore, .we hereby designate the Superintendent,
               Commissioner or Director of Insurance or other officer specified for the purpose in the statute, or his
               successor or successors In office, as our true and lawful attorney upon whom may be served any lawful
               process in any action, suit or proceeding Instituted by you or on your behalf or any beneficiary hereunder
               arising out of this contract of insurance, and we hereby designate the above named as the person to
               whom the said officer is authorized to mail such process or a true copy thereof.




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                PLEND 150                                    06-01-01
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               Named Insured: Advanced Insurance Brokerage of America, Inc.                 ·endorsement No. 4

               Policy No: lA10018209
                                                                                            Effective Date: 02/2812009
               It is agreed that this endorsement is attached to and hereby made a part of this Policy.



                              GOVERNMENTAL CLAIMS LIMITED BUYBACK ENDORSEMENT



               For purposes of this Polley, it is understood that Exclusion G. found in Part JJ Exclusions of this
               Policy is deleted In its entirety and Is replaced by the following:

                   G.      Brought by any regulatory authority or administratlve actions by a federal, state or
                           local governmental entity, Including, but not limited to: any actions, decisions, orders
                           or proceedings by any federal, state or local governmental agency; however,
                           nothwlthstandlng this exclusion, the Company agrees to reimburse the Insured's
                           reasonable Claims Expenses up to a total of $25,000 for the defense of regulatory
                           or administrative actions which are otherwise covered by the terms and conditions of
                           this Policy.




                           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED,




             Plend 347                                     03-28-08
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           Named Insured: Advanced Insurance Brokerage of America, Inc.                 Endorsement No. 5


           Policy No: IA10018209                                                        Effec6ve Date: 02/28/2009

           This endorsement is hereby attached to and made a gart of this Poncy


                                               THIRD PARTY ADMINISTRATORS

           The following additional Exclusions are added to the Policy.

           This poricy does not apply to any Claim or Claim Expenses based upon or arising out of:

                   T.      the recommendation or approval or disapproval of any trust fund investments.

                   U.      or brought against the insured, In the Insured's capacity as an Employer, based on any
                           violation of the Employee Retirement Income Security Act of 1974 (Public Law 93-406)
                           more commonly referred to as the Pension Act of 1974 or any amendments thereto or
                           similar provisions of any federal. state, or local statutory law or common law.

                   V.      Intentional refusal or failure to pay or any intentional delay in paylng any claim or
                           obligation arising out of an insurance or benefit contract or plan, however, this
                           exclusion shall only apply if insured knew that the claim or obligation was legitimate
                           and compensable.

                   W.      act, error or omission In the performance of actuarial services.

                   X.       the commingling, conversion, misappropriation or defalcation of funds or other property.

                   Y.      failure of any real or personal property to have at any point or points in time any
                           estimated, projected, represented, warranted or guaranteed economic values.

                   z.       based upon, due to or involving directly or indirectly, the insolvency, receivership,
                            bankruptcy, liquidation or financial inablllty to pay, of any self-funded or practically
                            self-funded Insurance or benefit plan or trust.

                   M.       any evaluation of proposed medical treatments to determine the necessity or efficacy of
                            such proposed medical treatment(s).

                    BB.     any peer review, consultation or recommendation of options for medlcal treatment
                            including identification of conditions necessary to quality for such treatment or the
                            designation of the location where such treatment may occur.

                    cc.     due to or involving directly or indirectly, the insolvency, receivership, bankruptcy,
                            liquidation or financial Inability to pay, of any insurance company or of any self-funded or
                            partially self-funded insurance or benefit plan or trust.




                                 All other terms and conditions of this Policy remain unchanged.



            PLEND 152                                      03·17-08
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I                                 Named Insured: Advanced Insurance Brokerage of America, Inc.          Endorsement No. 6
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I                                 Policy No: IA10018209
                                                                                                        Effective Date: 02/28/2009

                                  It is agreed that this endorsement is attached to and hereby made a part of this Policy.

                                                                ADDITIONAL EXCLUSION

                                 The following Exclusion(s) is added to Part II of the policy:


                                 DO. based upon or arising out of Utilization Review




                                 ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.

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              Case 4:13-cv-00532-BSM Document 2 Filed 09/10/13 Page 30 of 31
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                                             SIGNATURE ENDORSEMENT

                 The Policy to which this Endorsement is attached is insured by the



                 GOTHAM INSURANCE COMPANY



               IN WITNESS WHEREOF, The Issuing Company has caused this policy to be
               executed below, but this Policy shall not be valid unless countersigned by Mutual
               Marine Office, Inc., or by a duly authorized agent of the Company.




                             ~
                             Secretary                                          President



                                                                Executed in New York

                                                               This 17th day of March, 2009



                                                               MUTUAL MARINE OFFICE, INC.
                                                       Authorized Representative and
                                                       Managing General Agent
                                                       for the Company designated above


                                                                       By




                    Attached to and forming part of Policy MMO -IA10018209 of the Mutual Marine Office, Inc.
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                                                                                      Mutual Marine Office, Inc. ]
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                             .THE BROJ(ERPROsM ASSISTANCE                                    &
                                     RISK MANAGEMENT HOTLINE


               As a Gotham Insurance Company policyholder, your firm is entitled to
                              FREE CONSULTATION SERVICES
                                  with attorney Byron Hollins.                                                          . i
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                                              Byron may be contacted at:
                                               (877) 976-7288
                                     (during normal business hours, Pacific Standard Time)

                                                                or c/o:
                                                      Hollins & Levy LLP
                                                   23801 Calabasas Road
                                                    Calabasas, CA 91302
                                                  Telephone (818) 223.0300
                                                  Facsimile (818) 223.0310
                                                   Byron@hollinslew.com

                  Please, have your policy number ready, and call with questions
                  regarding loss prevention, problem clients, and engagements.


                     PLEASE NOTE: USE OF THIS SERVICE DOES NOT
                    CONSTITUTE NOTIFICATION OF A CLAIM TO GOTHAM
                      INSURANCE COMPANY UNDER YOUR POLICY.

                      Claims or potential claims must be reported to Gotham
                           Insurance Company/Mutual Marine Office, Inc.
                                      as stated in your Policy.
                    Reporting can be done by calling (800) 367-0224 or via email
                                     to djoiner@nymagic.com.
                            Other matters may be referred to your retail insurance representative.




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